~ Case 5:17-cv-00381-WTH-PRL Document 2 Filed 08/17/17 Page 1 of 10 PagelD 10

 

UNITED STATES DISTRICT COURT. Aus LG, Qi)
MIDDLE DISTRICT OF FLORIDA L
| FILED
CASE NO.: CLERK, U.S. DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA, FLORIDA

NIKO THOMPSON,
PETITIONER,
SIV. Cy BELLO Pre.
v.

FCC GOLEMAN-USP #1, WARDEN ,
ee eee
RESPONDENT.

/

 

PETITIONER FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241
AND MEMORANDUM OF LAW TO SUPPORT PETITIONER'S ARGUMENT
COMES NOW, the Petitioner, Niko Thomspon, hereby Pro-Se

files this Petitioner for a Writ of Habeas Corupus under 28
U.S.C. § 2241 and Memorandum of Law to Support Petitioner's

Argument. The Petitioner states as follows;

JURISDICTION:

A federal prisoner seeking to collaterally attack his
Sentence must, in most instance, pursue relief under 28 U.S.C.
§ 2255. Section 2255 grants federal prisoners a cause of action
to challenge their sentences as unconstitutional or otherwise

unlawful and delineates the procedure for adjudicating these

Q
fV
-
)
“)
w
=?)
<
Se,
Hj
\0
_ Case 5:17-cv-00381-WTH-PRL Doéuiment 2 Filed’08/17/17--Page 2 of 10-PageID 11...

actions. Id. In addition, the so-called “saving clause" contained

in § 2255(e) allows a federal court to entertain a federal

Prisoner's § 2241 habeas petition in the limited circumstances

where the prisoner demonstrates that the remedy in § 2255 "is

inadequate or ineffective to test the legality of his detention."
[The Eleventh Circuit] has held that § 2255(e) imposes

a jurisdictional restriction on a federal court's power to

entertain a § 2241 Petitioner. Williams V. Warden, Fed. Bureau

of Prisons, 713 F.3d 1332, 1337 (11th cir. 2013), cert. denied

sub nom. Williams v. Hasting, U.S. ——s- 135 S. Ce. 52, 190

L. Ed. 2d 29 (2014).

CLAIM ONE: IN LIGHT OF MATHIS V. UNITED STATES, 136 S. CT. 2243
(2016), THE PETITIONER'S CONVICTION UNDER FLA. STAT. § 893.13(1)
(A) DOES NOT MET THE DEFINITION UNDER THE TERM SERIOUS DRUG
OFFENSE AS DEFINE IN 18 U.S.C, 924(E). THEREFORE, THE PETITIONER
IS ACTUAL INNOCENT OF BEING AN ARMED CAREER CRIMINAL.

Under the term "Serious Drug Offense" in 924(e) (ii), it
means an of ense under State law, involving manufacturing,
distributing, Or possessing with intent to manufacture or dis-
tribute, a controlled substance eee « The Petitioner in his
federal offense, was deem an Armed Career Criminal for have
two conviction under Fla. Stat, 893.13(1)(a). In reviewing Flo-
rida State 893.13(1)(a) anda (2)(a), the court can determined

that, Fla. Sta. 893.13(1)(a) is an indivisible statute, for

it holds in part ...
Case 5:17-cv-00381-WTH-PRL Document 2° Filed 08/17/17 Page 3 of 10-PagelD. 12-...

"To prove the crime of (crime charged), the State must

Prove the following three elements beyond a reasonable
doubt:

1. (Defendant) (sold]{manufactured] delivered][ purchased]
possessed with intent to sell ][manufacture ][ delivery]
purchase]] a certain substance,"

Since Fla. Stat. 893.13 is indivisible Statute, the court
must apply the categorical approach under Descamps V. United
States, 133 §. Ce. 2275 (2013), which is "the law of the land"
and "must be followed." United States vy, Howard, 73 F.3d 1334,
n.2 (lith Cir. 2014). Once those elements are identified, the
Court must "presume that the conviction 'rested upon nothing
more than the least of the acts', criminalized," Mocrieffe V.
Holder, 133 S. Ck. 1678 (2011). See also Gonzales V. Duenas-
Alvarez, 549 U.S. 183 (2007) (requiring "a realistic Probability,
not a theoretical Possibility, that the State would apply its
statute to conduct that falls outside" the standard).

In Mathis V. United States, 136 S. ct. 2243 (2016), the
United States Supreme Court resolved a federal circuit split
and reaffirmed that when a Statute defines only one crime, with
one set of elements, but which lists alternative ways or mean
by which a defendant. can Satisfy those elements, and those means
are broader than a qualifying (i.e. generic) offense, a sentenc-
ing court must apply the categorical approach and is prohibited

from examining the facts underlying the defendant's actual con-

duct,
~ Case 5:17-cv-00381-WTH-PRL ~ Document 2” Filed.08/17/17-- Page-4-of-10-Page!D.13

Now, in reviewing the least ¢riminalized act, which is
purchased. Under the definition of "Serious Drug Offense" pur-
chased is not included. The Petitioner asserts that, this is
not the first time the Eleventh Circuit determined purchased
Can not be used. See United States y. Shannon, 631 F.3d 1187
(11th Cir. 2011); United States V, Hernandez, 145 F.3d 1433
(1ith Cir, 1998).

Therefore, since purchase/purchased cannot be used, the
is actually innocent of being an Armed Career Criminal and
therefore, the Petitioner must be resentence without being an

Armed Career Criminal.

BRYANT TEST:

Notably, § 2255(h) Prohibits federal prisoners from filing
Second and successive § 2255 petitions unless there is newly
discovered evidence or a new rule of constitutional made retro-
active to cases on collateral review by the Supreme Court.

In the past, the Petitioner subject to § 2255(h)'s bar argued
that they met the Savings clause because § 2255(h), in and of
itself, rendered § 2255 inadequate or ineffective to test the
legality of their detention. [The Eleventh Circuit] rejected
that proposition. Gilbert V. United States, 640 F.3d 1293, 1307-

09 (11th Cir. 2011) (en banc). In Gilbert, we held that "the
savings clause does not authorize a federal prisoner to bring
in a § 2241 petition a claim, which would otherwise be barred
by § 2255(h), that the sentencing guidelines were misapplied
in a way that resulted in a longer sentence not exceeding the
Statutory maximum." Id. at 1323.

But that does not mean that a federal prisoner sentenced
to a term of imprisonment longer than the Statutory maximum
under the ACCA may not pursue a § 2241 petition, even though
he is subject to § 2255(h)'s bar. Following our decision in
Gilbert, we formulated a five-part test that a petitioner must
Sat sfy in order to meet the saving clause and endow a federal
court with jurisdiction to entertain his § 2241 petitioner.
See Bryant V. Warden, FCC Coleman-Medium, 738 F.3d 1253, 1274

(11th Cir. 2013). The Bryant test requires a petitioner to show

all of the following;

(1) Throughout his sentencing, direct appeal, and first § 2255
proceeding, our Circuit's binding precedent squarely foreclosed
him from challenging the ACCA-predicate.

The Petitioner's argument was foreclosed by United States
V. Pitts, 394 Fed. Appx. 680 (11th Cir. 2010). See also United
States V. James, 430 F.3d 1150 (11th Cir. 2005). Both cases
—— SE
only apply the modified categorical approach to indivisible
Statute (Fla. Stat. 893.13(1)(a)). Also, the Pétitioner's ‘con-

viction became final, before Mocrieffe,
‘

_ Case 5:17-cv-00381-WTH-PRL Document 2° Filéd'08/17/17 Page 6 of 10 PagelD 15 ~~

(2) Subsequent to his first § 2255 proceeding, [a] Supreme Court

decision ..., as extended by this Court to [his] distinct
prior conviction, Overturned our Cireuit precedent that had
squarely foreclosed [his] § 924(e) clain.

Although, Descamps did not overrule Pitts and James, it
explained how court should apply the modified categorical

approach to the divisible statute, and the categorical approach

to the indivisible Statute.

(3) The New Rule announced in [Supreme Court case] applies
retroactively on collateral review;

Mathis is retroactively applies on collateral review, base
on Descamps. See May V. United States, 817 F.3d 728, 734 (11th
Cir. 2016) (Applying Descamps retroactively to cases on collateral
review) See also In Re Griffin, 823 F.3d 1350 (11th Cir. 2016)
(Descamps is not retroactive for purposes of a second or
successive § 2255 motion).

(4) As a result of [The Supreme Court case's] new rule being
retroactive, [his] current sentence exceeds the 10-year statutory
maximum authorized by Congress in § 924(a);

By removing the two prior conviction for Fla, Stat. 893.13
(1)(a), the will no longer be eligible for the ACCA enhancement
for the PSI used those two prior as three needed for the ACCA

enhancement,

 

*1. See Exhibit A
—Casé 5:17-cv-00381-WTH-PRL ~ Document 2° Filed 08/47/47 Page 7 of 10 PagelD 16---- ----

(5) The Saving Clause in § 2255(e) reaches his pure § 924(e)[]
error claim of illegal detention above the statutory maximum
penalty in § 924(a).

The Petitioner asserts that, he could not have raised this

issue as explained in 1-4, Therefore the Petitioner is entitled

to relief,

CONCLUSION

WHEREFORE, the Petitioner should be resentence without

the ACCA enhancement.

CERTIFICATION OF SERVICE

I HEREBY CERTIFY that the foregoing is a true and correct
copy that was mailed/hand delivered to the Clerks of Court,
207 NorthWest Second Street, Suite 337, Ocala, FL 35575-6693
on this IG day of fvgust 2017.

a T
Niko Thompson

 

 
_ Case 5:17-cv-00381-WTH-PRL Document 2 Filed 08/17/17 Page 8 of 10 PagelD 17

ATTAGHENT A

Under the term "Serious Drug Offense!’ in 18 U.S.C. 924(e), it means an offense under State
Law, involving manufacturing, distributing, or possessing with intent to manufacture or distri-
bute, a contolled substance (as defined in section 102 of the Controlled Substances Act (21
U.S.C. 802)), for which a maximm term of imprisonment of ten years or more prescribed by law."
When I was sentence, I was determined an Armed Career Criminal, due to my two conviction of
Florida Statute Section 893.13(1)(a). In reviewing Fla. Stat. 893.13(1)(a), the court can con-
clude that it is an indivisible statute, which a categorical approach.

The Elements of Fla. Stat. 893.13(1)(a) are ... [sold] [manufactured ][ delivered ][purchased]
[possessed with intent to sell ][mnufacture ][delivered][purchases]] a certain substance. In
assuming the Petitioner committed the least criminalized act, which would be purchase. Théretoce,
in drugs, is not an offense under the term "'Serious Drug Offense,"as defined
in 924(e).

As the reason stated above, the Petitioner is not an Armed Career Criminal and per Mathis,

and is actual innocent of being an Armed Career Criminal. And should be resentence without the
Armed Career Criminal enhancement.
j .9-of-1.90-P Qe ee
- €ase-5:17-cv-00381-WTH-PRL--Document 2. -Filed 08/17/17. -Page-9-of 10-PagelD 1
Vase 1.14-CV-2UU/2-JLK Document 28 Entered on FLSD Docket 01/07/2015 Page 56 of 58
J

EA
F.Supp.2d _+ 2014 WL 1931814 (S.D. Tex. 2014) (“While no circuit

court has addressed the issue, the district courts that have done
So consistently hold that Descamps does not apply retroactively to
cases on collateral review.”) (citations omitted); Harr v. United
States, 2014 WL 1674085 (C.D. Ill. 2014) (“Descamps did not announce
anew rule, but rather reaffirmed existing Supreme Court precedent
while rejecting the Ninth Circuit Court of Appeal’s departure from

established Supreme Court caselaw.”). Thus, movant is not entitled

 

 

to vacatur of his sentences on the basis of the Descamps opinion as
it is not applicable to cases on collateral review.

VI. Certificate of Appealability
As amen ve December 1, 2009, §2255 Rule Li(a)
provides that “{t]he district court must issue or deny a
certificate of appealability (“COA”) when it enters a final order
adverse to the applicant,” and if a certificate is issued “the
court must state the Specific issue or issues that Satisfy the
showing required by 28 U.S.c. $2253(c) (2).” See Rule ll(a), Rules
Governing Section 2255 Proceedings for the United States District
Courts. A §2255 movant “cannot take an appeal unless a circuit
justice or a circuit or district judge issues a certificate of
appealability under 28 U.S.C. $2253(c).” See Fed.R.App.P. 22(b)(1).
Regardless, a timely notice of appeal must still be filed, even if
the court issues a certificate of appealability. See 28 U.S.C.
§2255 Rule ll(b).

However, “[A] certificate of appealability may issue ... only
if the applicant has made a substantial Showing of the denial of a
constitutional right.” See 28 U.S.C. §2253(c)(2). To make a
substantial Showing of the denial of a constitutional right, a
$2255 movant must demonstrate “that reasonable jurists could debate

56
; LF44 7..-- --4-f). 12). ~4Q-.--
” GaGRSE ELGG 90387 WTH-PRE: Document 2--Filed 08/17/17 Page-20-of 10 PagelD
..  yabeaexa- be Q0OPZSERY Bb euinent 38. Entered on ELSD Docker 01/07/2015 Page 55 of 58

EX-A

establishing the rules for determining when a defendant’s prior
conviction qualifies as one of the enumerated predicate offenses
set forth in the Armed Career Criminal Act, 18 U.S.C. §924
(“ACCA”). In Taylor v. United States, 495 U.S. 575, 110 S.ct. 2143,
109 L.Ed.2d 607 (1990), the Supreme Court adopted a “categorical
approach,” requiring sentencing courts to look at the statutory
elements of the defendant's prior offenses, not the facts
underlying those convictions. See Descamps, 133 S.Ct. At 2283-94
(discussing Taylor). The Court’s Paylor decision also developed the
“modified categorical approach,” which allows sentencing courts to
look beyond the statutory elements to “the charging paper and jury
instructions” used in a case where the defendant’s prior conviction

is for violating a “divisible statute.” Descamps, 133 S.ct. at

1 ss AA
2282-85 (discussing Paylex and Shepard v. United States, 544 U.S.

 

13, 125 §.ct. 1254, 161 L.Ed.2d 205 (2005)). In Descamps, the
Supreme Court determined that the California burglary statute is
nondivisible and therefore the district court could not apply the
modified categorical approach to the defendant’s California
burglary conviction. Id. at 2285-86.

The Eleventh Circuit has held, however, that Descam Ss, like
Apprendi,?® is not retroactively applicable to cases on collateral
review. See Wilson v. Warden, FCC Coleman, No. 13-11560, 2014 WL
4345685, at *3 (11 Cir. Sept. 3, 2014) (“The Supreme Court itself
has not expressly declared Descamps to be retroactive to cases on
collateral review. Moreover, Descamps was decided in the context of
a direct appeal, and the Supreme Court has not since applied it to

a case on collateral review.”); see also, United States v. Boykin,
2014 WL 2459721 (N.D. Fla. 2014); Johnson v. United States, 2014 WL

2215772 (M.D. Fla. 2014); see also United States v. Chapman,

 

“Apprendi v. New Jersey, 530 U.S. 466 (2000).

55
